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 11
 12                        UNITED STATES DISTRICT COURT
 13                       CENTRAL DISTRICT OF CALIFORNIA
 14
 15   XSOLLA (USA), INC., a California              Case No. 2:24-cv-02116-ODW-AGR
      Corporation,
 16                                                 DEFENDANT AGHANIM INC.’S
                      Plaintiff,                    NOTICE OF MOTION AND
 17                                                 MOTION TO DISMISS
      v.                                            PURSUANT TO FED. R. CIV. P.
 18                                                 12(b)(6); MEMORANDUM OF
      AGHANIM INC., a Delaware                      POINTS AND AUTHORITIES IN
 19   Corporation, et al.,                          SUPPORT THEREOF
 20                   Defendants.                   Date:     June 3, 2024
                                                    Time:     1:30pm
 21                                                 Place:    Courtroom 5D, 5th Floor,
                                                              First Street Courthouse
 22                                                 Judge:    Hon. Otis D. Wright II
 23
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                                                                      DEFENDANT AGHANIM’S
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  1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  2         PLEASE TAKE NOTICE that on June 3, 2024, at 1:30 p.m., or as soon
  3   thereafter as this matter may be heard before the Honorable Otis D. Wright, II in
  4   Courtroom 5D, 5th Floor of the above-entitled court, located at First
  5   Street Courthouse, 350 W. 1st Street, Los Angeles, CA, Defendant Aghanim Inc.
  6   (“Aghanim”) 1 will and hereby does move this Court to dismiss the First Amended
  7   Complaint (“FAC”) filed by Plaintiff Xsolla (USA) Inc. (“Xsolla”). Aghanim seeks
  8   an order pursuant to Federal Rule of Civil Procedure 12(b)(6) dismissing all of
  9   Xsolla’s claims against Aghanim with prejudice on the following grounds:
 10         Xsolla’s First and Second Causes of Action for trade secret misappropriation
 11   under the Defend Trade Secrets Act (“DTSA”) and the California Uniform Trade
 12   Secrets Act (“CUTSA”) should be dismissed because Xsolla failed to sufficiently
 13   plead its alleged trade secrets or allege that they have independent economic value.
 14   Xsolla also failed to allege reasonable measures it takes to protect the secrecy of the
 15   alleged trade secrets. Additionally, Xsolla failed to sufficiently allege that trade
 16   secrets were actually misappropriated. Finally, Xsolla’s damages allegations are
 17   conclusory and are void of factual support.
 18         Xsolla’s Third, Fourth, Fifth, and Sixth Causes of Action for Intentional and
 19   Negligent Interference with Prospective Economic Advantage, Intentional
 20   Interference with Contract, and Unfair Competition under Cal. Bus. & Prof. Code
 21   § 17200 should be dismissed because they are preempted by CUTSA. These counts
 22   also fail to state a cause of action upon which relief can be granted.
 23         Xsolla’s Seventh Cause of Action for Trademark Infringement should be
 24   dismissed because it fails to state a claim—the FAC alleges only nominative fair
 25   use of the term “Xsolla” to refer to the prior employer of Aghanim’s founders.
 26
 27
      1 Aghanim understands that Defendant Albert Tagirovich Tugushev has not yet
 28   been served and thus does not have a response deadline
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  1         This Motion is made following the conference of counsel pursuant to Local
  2   Rule 7-3, which took place on April 26, 2024, more than seven days prior to the
  3   filing of this Motion. Earlier this month, on April 2, 2024, the parties met and
  4   conferred about Aghanim’s intended motion to dismiss Xsolla’s original complaint,
  5   in response to which Xsolla filed its First Amended Complaint as a matter of course
  6   under Rule 15(a)(1). But the substantive deficiencies in all of its causes of action
  7   remained, as detailed during the subsequent meet and confer and below.
  8         This Motion is based on this Notice of Motion and Motion, the
  9   accompanying Memorandum of Points and Authorities, the Request for Judicial
 10   Notice (“RJN”) filed herewith, the pleadings and papers filed in this action, and
 11   such further argument as may be offered at the hearing of this Motion.
 12
 13   Dated: May 3, 2024                             Respectfully submitted,
 14                                                  ORRICK, HERRINGTON &
                                                     SUTCLIFFE
 15
 16
                                                     By: /s/ Diana Rutowksi
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   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2   I.    INTRODUCTION
   3         Xsolla’s First Amended Complaint (“FAC”) is a mash-up of baseless
   4   allegations rooted in the retaliatory and anti-competitive motives of its billionaire
   5   founder and sole shareholder Aleksandr Agapitov, and his desire to keep two
   6   former executives from being able to work in the only industry they have known for
   7   the past decade. Konstantin Golubitsky and Constantin Andry—prominently
   8   featured in the FAC but not named as defendants—are former Xsolla executives
   9   who departed Xsolla in spring 2023 and soft-launched Aghanim’s initial
  10   commercial offerings around February 2024.
  11         Xsolla first became aware of Aghanim’s formation in summer 2023, at which
  12   time Xsolla founder Agapitov sent Golubitsky and Andry clown and poop emojis to
  13   reflect his feelings about their newly-formed venture. However, it was not until
  14   November 2023, when Agapitov learned that Aghanim was hiring, planning to
  15   attend one of the biggest video game industry events, and about to close a funding
  16   round, that he militarized Xsolla’s lawyers to make Xsolla’s first anti-competitive
  17   move. In an attempt to interfere with Aghanim’s efforts, Xsolla wrote to Golubitsky
  18   and Andry, claiming they used Xsolla’s unidentified “Confidential/Trade Secret
  19   Information” in unspecified ways.
  20         Despite Golubitsky and Andry’s repeated written requests for specifics,
  21   Xsolla lay in wait for months. Then, on March 14, 2024, just one business day
  22   before Andry was publicly scheduled to pitch Aghanim to hundreds of investors at
  23   the largest video game developers’ conference of the year, Xsolla filed this lawsuit
  24   against Aghanim. And not against Golubitsky or Andry—but 50 “unknown” Does.
  25   A month later, in an apparent effort to cure pleading deficiencies identified by
  26   Aghanim during meet and confer, Xsolla named in its FAC Albert Tagirovich
  27
  28
                                                                        DEFENDANT AGHANIM’S
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   1   Tugushev, 2 a short-term former Xsolla contractor who is now an Aghanim
   2   executive.
   3         This history, combined with the glaring deficiencies in Xsolla’s pleading,
   4   demonstrates the FAC is designed to tarnish Aghanim’s name. Each of Xsolla’s
   5   claims against Aghanim—(1) Violation of the Defend Trade Secrets Act (“DTSA”),
   6   (2) Violation of California Uniform Trade Secrets Act (“CUTSA”), (3) Intentional
   7   Interference with Prospective Economic Advantage, (4) Negligent Interference with
   8   Prospective Economic Advantage, (5) Intentional Interference with Contract,
   9   (6) Unfair Competition, and (7) Federal Trademark Infringement—is based on
  10   threadbare and conclusory pleadings and must be dismissed under Rule 12(b)(6).
  11         With respect to Xsolla’s DTSA and CUTSA claims, first, Xsolla fails to
  12   plead its alleged trade secrets with particularity, citing product names and publicly
  13   available features on its platform without differentiating what information
  14   constitutes its alleged trade secrets. As Xsolla said in promoting its publicly-
                                                                                           3
  15   available product guide: “Alright, you caught us! It’s not our best kept secret.”
  16   Second, Xsolla fails to allege economic value. Third, the FAC fails to allege
  17   reasonable measures protecting Xsolla’s purported trade secrets, pleading
  18   inconsistent and insufficient efforts. Fourth, Xsolla’s allegations of trade secret
  19   misappropriation are speculative at best. Fifth, Xsolla’s damages allegations are
  20   conclusory.
  21         Xsolla’s four state-law claims rely on the same allegations of trade secret
  22   misappropriation and are preempted by CUTSA. They also fail to state a claim
  23   upon which relief can be granted.
  24
  25
       2 Tugushev, not Tagirovich, is Albert Tugushev’s last name.
  26
       3 See “Xsolla Book,” available at
  27   http://xsolla.maiik.ru/xsolla_com_book/xsollabook(10-03-17).webflow/,
  28   https://twitter.com/xsolla/status/844636536234659840 (last accessed May 3, 2024).
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   1          Finally, Xsolla’s trademark infringement claim fails to plausibly plead
   2   infringing use of the Xsolla mark, alleging only nominative fair use of “Xsolla” in
   3   reference to the previous work experience of Aghanim’s executives—not trademark
   4   infringement.
   5          Xsolla’s scattershot complaint against Aghanim should be dismissed with
   6   prejudice in its entirety.
   7   II.    STATEMENT OF RELEVANT ALLEGED FACTS
   8          Several themes running through Xsolla’s alleged facts reveal the pleading
   9   deficiencies and highlight its objective to harass. First, Xsolla parrots its public
  10   product marketing materials to allege its so-called “trade secrets.” See, e.g., FAC
  11   ¶ 22. Xsolla is a payment processing platform, FAC ¶¶ 1, 19, making its money by
  12   taking a cut of each transaction, RJN, Ex. O, from customers and developers who
  13   use its publicly available and publicly marketed offerings. The “unique
  14   technologies” Xsolla lists in the FAC, ¶ 22, are available on Xsolla’s website, with
                                                                       4
  15   “demos” and in-depth “how-to” guides. See RJN, Exs. A-K. Xsolla’s “customized
  16   solutions for individual customer problems,” FAC ¶ 25, fare no better: dozens of
  17   customer “success stories” are featured on Xsolla’s website, highlighting the
  18   products they used to address a particular issue they faced. See RJN, Exs. M-N.
  19          Second, while Xsolla claims “companies in this industry fiercely protect their
  20   intellectual property and customer information,” FAC ¶ 20, Xsolla falls short. By
  21   its own admission, not all employees sign agreements with confidentiality
  22   provisions. Id.¶ 27. The three documents with confidentiality provisions Xsolla
  23   cites in relation to the individuals at the heart of its claims are in complete disarray:
  24   (1) Golubitsky allegedly executed an employment agreement, but did so nine years
  25   4 In deciding a motion to dismiss, a court may take judicial notice of facts and

  26   “matters of public record.” MGIC Indem. Corp. v. Weisman, 803 F.2d 500, 504 (9th
       Cir. 1986). Concurrently with this motion, Aghanim requests that the Court take
  27   judicial notice that materials on Xsolla’s website are publicly available under Fed.
  28   R. Evid. 201(b).
                                                                           DEFENDANT AGHANIM’S
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   1   after joining Xsolla, id. ¶¶ 29-30; (2) Andry was never required to execute a
   2   confidentiality agreement and only allegedly signed an employee handbook six
   3   years after joining Xsolla, id. ¶¶ 34-35; and (3) Tugushev allegedly signed an
   4   Independent Contractor Agreement (“ICA”) in 2023 (with no allegation regarding
   5   the “Mutual Confidentiality Agreement” cited therein), id. ¶ 38, when he allegedly
   6   started gathering trade secret information in “late-2022,” id. ¶¶ 41,71. Xsolla—a
   7   company with “nearly 1,000 employees worldwide,” id. ¶ 26—is unable to
   8   demonstrate robust reasonable measures vis-à-vis these three individuals, who
   9   allegedly had “full” “access to the most sensitive and mission-critical Xsolla
  10   information,” id. ¶¶ 40, 74.
  11         Third, allegations most critical to Xsolla’s claims are “on information and
                                 5
  12   belief”—over two dozen of them. For example, it is “on information and belief”
  13   that Aghanim used Xsolla’s alleged trade secrets to attract business. Id. ¶¶ 49, 50,
  14   53. It is “on information and belief, Aghanim could not have developed its platform
  15   . . . without the improper use of Xsolla technology . . . .” Id. ¶ 58. It is “on
  16   information and belief” that Tugushev—starting in “late-2022”—“spent months
  17   . . . gathering [Xsolla’s] trade secret and confidential information.” Id. ¶¶ 42, 46,
  18   71. Another problem with this allegation is that Tugushev did not join Xsolla until
  19   March 1, 2023. Id. ¶ 38. The only allegations Xsolla is certain of pertain to
  20   Aghanim founders’ departures from Xsolla and the soft launch of Aghanim. Id.
  21   ¶¶ 44, 46, 55. Everything else is pure speculation.
  22         Fourth, despite its grievances, Xsolla’s damages allegations remain vague
  23   and conclusory. See, e.g., id. ¶ 9 (“lost valuable business opportunities”). Despite
  24   Xsolla’s repeated allegations that Aghanim attempted to “improperly solicit Xsolla
  25   customers,” id. ¶¶ 8, 50, 53, 54, 57, 61, 62, Xsolla does not allege it lost a single
  26
       5 In some instances, Xsolla drops the “on information and belief” qualifiers, but
  27
       doing so does not turn allegations based on assumptions and speculation into ones
  28   based on facts. Compare id. ¶ 56, with id. ¶ 58.
                                                                          DEFENDANT AGHANIM’S
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   1   customer to Aghanim. And it attempts to transform prudent business practices like
   2   “reconsider[ing] its long-term strategy” to keep up with an evolving market into
   3   damages allegations. Id. ¶ 9. Further, despite knowing about Aghanim’s activities
   4   for many months and allegedly “continu[ing] to suffer” “harm,” id. ¶¶ 100-01,
   5   Xsolla has not sought preliminary injunctive relief.
   6          Finally, in connection with Xsolla’s trademark claim, the FAC alleges only
   7   references to “Xsolla” as the former employer of Aghanim’s founders. See, e.g.,
   8   FAC ¶¶ 1-2, 52, id. at Ex. A (“Golubitsky, Co-Founder, Co-CEO, 1,7 Years CEO
   9   @ Xsolla, 9,1 Years CTO @ Xsolla.”); id. at Ex. B (“Aghanim . . . founded by
  10   former CEO and CTO of Xsolla, launches to transform how mobile games are
  11   monetized and distributed.”).
  12   III.   LEGAL STANDARD
  13          The determination of whether a complaint satisfies the Rule 8 plausibility
  14   standard on a Rule 12(b)(6) motion is a “context-specific task that requires the
  15   reviewing court to draw on its judicial experience and common sense.” Ashcroft v.
  16   Iqbal, 556 U.S. 662, 679 (2009). In this analysis, a court “does not take legal
  17   conclusions as true merely because they are cast in the form of factual allegations.”
  18   Power Integrations v. De Lara, 2020 WL 1467406, at *18 (S.D. Cal. Mar. 26,
  19   2020). A trade secret complaint must do more than provide “a conclusory list of the
  20   ‘forms and types’ of trade secrets actionable.” Id. Also, “facts providing a
  21   reasonable basis” to infer misappropriation are necessary. Space Data Corp. v. X,
  22   2017 WL 5013363, at *2 (N.D. Cal. Feb. 16, 2017). When such factual content is
  23   missing, “allegations fail to provide adequate notice of the trade secret(s) . . . and,
  24   thus, do not satisfy Rule 8 pleadings standards.” De Lara, 2020 WL 1467406, at
  25   *18.
  26   IV.    ARGUMENT
  27          Xsolla’s FAC should be dismissed in its entirety as to Aghanim. It fails to
  28   state a claim for which relief can be granted under DTSA, CUTSA, or the Lanham
                                                                          DEFENDANT AGHANIM’S
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   1   Act. Further, CUTSA preempts Xsolla’s four state-law claims, which also fail to
   2   state a claim upon which relief can be granted. 6 Having already attempted to amend
   3   once, Xsolla’s FAC should be dismissed with prejudice because any further
   4   “amendment would be futile.” Cervantes v. Countrywide Home Loans, Inc., 656
   5   F.3d 1034, 1041 (9th Cir. 2011) (leave to amend may be denied where “amendment
   6   would be futile”).
   7         A.     Xsolla’s Trade Secret Misappropriation Counts Fail to State a
   8                Claim.

   9         For purposes of a motion to dismiss, “the elements of CUTSA and DTSA
  10   claims are substantially the same.” Genentech v. JHL Biotech, 2019 WL 1045911,
  11   at *10 (N.D. Cal. Mar. 5, 2019). A claim must allege: (1) the plaintiff owned a trade
  12   secret; (2) the defendant misappropriated the trade secret; and (3) the defendant’s
  13   actions damaged the plaintiff. GlobeSpan v. O’Neill, 151 F. Supp. 2d 1229, 1235
  14   (C.D. Cal. 2001); see also 18 U.S.C. § 1839(5); Cal. Civ. Code § 3426.1(b).
  15   Xsolla’s trade secret misappropriation counts fail on each element.
  16                1.      Xsolla Fails to Plead Ownership of a Trade Secret.
  17         Xsolla fails to allege a trade secret for three independently fatal reasons: (a)
  18   Xsolla lists broad categories of information without distinguishing what is
  19   purportedly “secret” from what is public, see Space, 2017 WL 5013363, at *2
  20   (dismissing claims where plaintiff failed to specify “which aspects of its technology
  21   . . . are secret”) (internal citation omitted); (b) Xsolla does not (and cannot) allege
  22   the information at issue provides independent economic value because of its
  23   purported secrecy, see 18 U.S.C. § 1839(3); Cal. Civ. Code § 3426.1(d); and (c)
  24   Xsolla’s alleged measures to protect the information’s secrecy are facially
  25
  26   6 With no diversity of citizenship under 18 U.S.C § 1332, this Court can only

       exercise 18 U.S.C. § 1367 supplemental jurisdiction over state-law claims. Without
  27   federal claims, the Court will lack subject matter jurisdiction over the state-law
  28   claims.
                                                                          DEFENDANT AGHANIM’S
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   1   inconsistent and unreasonable.
   2                       a.     Xsolla does not identify any alleged trade secrets with
   3                              sufficient particularity.

   4         A plaintiff must identify “the trade secret with sufficient particularity . . . to
   5   permit the defendant to ascertain . . . the boundaries within which the secret lies.”
   6   Acrisure of Cal. v. SoCal Com. Ins. Servs., 2019 WL 4137618, at *3 (C.D. Cal.
   7   Mar. 27, 2019) (internal citation omitted). There are no boundaries or particularity
   8   in Xsolla’s allegations: it “has essentially pled that all information related to its
   9   customers and business is a trade secret.” CleanFish v. Sims, 2020 WL 4732192, at
  10   *4 (N.D. Cal. Aug. 14, 2020). Its allegations are either too broad and vague or
  11   include non-secret and publicly available information, making it impossible “to
  12   convey an understanding of its parameters or to separate it from matters of general
  13   knowledge.” Workplace Techs. Rsch. v. Project Mgmt. Inst., 664 F. Supp. 3d 1142,
  14   1159 (S.D. Cal. 2023).
  15         Xsolla groups its alleged trade secrets into two categories: technical
  16   information, and customer information and pricing. With respect to the former,
  17   Xsolla’s purported “unique technologies” are disclosed at length in its publicly
  18   available information: Pay Station, Site Builder, Web Shop, In-Game Store,
  19   Personalization, Marketing Solutions, Game Launcher App, Xsolla Mall, and Fraud
  20   Protection Solution. Compare FAC ¶¶ 22, 41, 67, 77; with RJN, Exs. A-K. Xsolla’s
  21   “worldwide tax compliance algorithms” allegation, id. ¶ 67, suffers from the same
  22   defect also because tax rules are public and compliance requires transparency. See
  23   RJN, Ex. L.
  24         It is axiomatic that materials that are “publicly available on Plaintiff’s
  25   website are not trade secrets,” compelling dismissal. Woodall v. Walt Disney Co.,
  26   2021 WL 2982305, at *11 (C.D. Cal. Apr. 14, 2021); see also TRC & Assocs. v.
  27   Nuscience, 2013 WL 6044315, at *3 (C.D. Cal. Nov. 14, 2013) (“If the ingredients
  28   named in the Complaint are in the public domain, then they cannot be trade
                                                                          DEFENDANT AGHANIM’S
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   1   secrets.”) (citing 18 U.S.C. § 1839); Genasys v. Vector Acoustics, 638 F. Supp. 3d
   2   1135, 1152 (S.D. Cal. 2022) (granting motion to dismiss where some of the
   3   information is publicly available); Moreland Apts. Assocs. v. LP Equity, 2019 WL
   4   6771792, at *4 (N.D. Cal. Dec. 12, 2019) (no trade secret protection for “publicly
   5   available information”); Cal. Civ. Code § 3426.1(d) (defining trade secret as
   6   information “not being generally known to the public”). Without identifying what is
   7   trade secret, the FAC “gives defendants no clue whatsoever about what information
   8   forms the basis of plaintiff’s misappropriation claim.” Zoom Imaging Sols. v. Roe,
   9   2019 WL 5862594, at *5 (E.D. Cal. Nov. 8, 2019).
  10         The same is true for Xsolla’s second category of alleged trade secrets—
  11   allegations of “customer information and pricing.” Xsolla asserts that its “customer
  12   lists and related customer information . . . are proprietary, kept in confidence, and
  13   represent trade secret information.” FAC ¶ 25. But this allegation “carries little
  14   weight where material subject to judicial notice shows” Xsolla “itself has
  15   publicized its relationship with many of its customers.” Veronica Foods v. Ecklin,
  16   2017 WL 2806706, at *14 (N.D. Cal. June 29, 2017). Xsolla drops the names of at
  17   least a hundred customers on its own website, including highlighting them in so-
  18   called “success stories” and “Winner’s Circle.” See RJN, Exs. M-N. Moreover, a
  19   Google search of the phrase “Xsolla is an authorized global distributor of” produces
                                                                               7
  20   hundreds of Xsolla customers and their related customer information. As for the
  21   alleged “customized solutions for individual customer problems,” FAC ¶ 25, and
  22   “details about the customer’s products and how they use Xsolla’s offerings,” id.
  23   ¶ 69, these are not secret either. Xsolla proudly displays dozens of customer
  24   “success stories” on its website, highlighting the products they used to address a
  25   particular business issue. See RJN, Ex. N. Same with pricing: Xsolla purports to be
  26   transparent about its pricing all over its website, RJN, Ex. O, undermining secrecy.
  27
  28   7 See RJN, Ex. P.

                                                                        DEFENDANT AGHANIM’S
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   1   Thus, Xsolla’s vague allegations that “customer list and preferences” constitute
   2   trade secrets and are “not ascertainable through proper means,” FAC ¶¶ 71, 73, are
   3   contradicted by its own disclosures. See Moreland, 2019 WL 6771792, at *3
   4   (agreeing that limited partners’ names were not trade secrets because they are
   5   “readily available through public sources”).
   6         Besides information that is public, and by definition, cannot be trade secrets,
   7   Xsolla alleges overbroad categories of information that are likewise “insufficient to
   8   state a claim.” WalkMe v. Whatfix, 2024 WL 1221960, at *3 (N.D. Cal. Mar. 21,
   9   2024). “Sweeping,” catchall language, like “customer information and pricing,”
  10   “pricing for suite of tools and services offered,” and “sales data,” and “algorithms”
  11   and other “documents for its products and services,” FAC ¶¶ 71, 74, 77, 78, 83,
  12   lacks the required specificity. Synopsys v. ATopTech, 2013 WL 5770542, at *6
  13   (N.D. Cal. Oct. 24, 2013); Unified Grocers v. VM Int’l, 2020 WL 5370621, at *4
  14   (C.D. Cal. Apr. 8, 2020) (same). Because such alleged trade secrets are apparently
  15   “an unknown subset of the indefinite” publicly available information and broad
  16   categories of information, Xsolla “does not sufficiently identify anything.” Roe,
  17   2019 WL 5862594, at *5. Courts routinely dismiss complaints with similar
  18   allegations. Rescue 1 Fin. v. Complete Debt Relief, 2023 WL 6373884, at *3-4
  19   (C.D. Cal. Aug. 24, 2023) (collecting cases). This Court should do the same.
  20                      b.     Xsolla fails to adequately plead independent economic
                                 value.
  21
  22         As this Court has recognized, the second element defining a trade secret is
  23   “key”: “trade secrets have economic value because they are unknown and
  24   unknowable to someone else who might find them valuable.” Miranda v. Thiry,
  25   2021 WL 5760299, at *4 (C.D. Cal. Dec. 2, 2021) (citing 18 U.S.C. § 1839(3))
  26   (emphasis in original); see also Cal. Civ. Code § 3426.1(b); Moreland, 2019 WL
  27   6771792, at *3 (information that is “‘readily obtainable through public sources’ is
  28   not a trade secret because it cannot derive independent economic value”) (citation
                                                                       DEFENDANT AGHANIM’S
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   1   omitted). That Xsolla “divulged the alleged trade secrets without attempting to
   2   consistently protect them counsels against finding economic value.” Wagner
   3   Aeronautical v. Dotzenroth, 2022 WL 6837701, at *6 (S.D. Cal. Oct. 7, 2022).
   4                       c.    Xsolla fails to plead reasonable measures to keep
   5                             information secret.

   6         According to Xsolla, “[a]ll companies in this industry fiercely protect their
   7   intellectual property and customer information.” FAC ¶ 20. But Xsolla’s pleaded
   8   measures are not reasonable, let alone “fierce,” especially considering that “Xsolla
   9   has nearly 1,000 employees worldwide,” id. ¶ 26. See Fail-Safe v. A.O. Smith
  10   Corp., 674 F.3d 889, 894-95 (7th Cir. 2012) (“[W]hat steps are reasonably
  11   necessary . . . is different for a large company than for a small one.”). In the FAC,
  12   Xsolla added allegations that it limits “access to highly sensitive and trade secret
  13   information to employees on a need-to-know basis” and that it has “password
  14   protections” for “client information” and “different levels of access.” FAC ¶¶ 74,
  15   81. But these allegations ring hollow in light of Xsolla’s inconsistent application.
  16         While Xsolla claims it “implements detailed contractual obligations and
  17   agreements with its employees and other workers,” id., the FAC tells a different
  18   story. By Xsolla’s own admission, not all employees sign agreements with
  19   confidentiality provisions, and that includes employees with “unrestricted access”
  20   to Xsolla’s “crown jewels.” FAC ¶¶ 27, 29, 40, 54 (“Most Xsolla employees sign
  21   confidentiality agreements.”) (emphasis added). Golubitsky allegedly executed an
  22   agreement more than nine years after joining Xsolla. Id. ¶¶ 29-30. Xsolla alleges
  23   Golubitsky signed the handbook in 2022, rather than, as one would expect, “[o]ver
  24   a decade ago,” when he “began working for Xsolla as a Team Lead.” FAC ¶¶ 29,
  25   32. This is despite his alleged “access to and knowledge of Xsolla’s most sensitive
  26   algorithms” “over the course of [those] years.” Id. ¶ 29.
  27
  28
                                                                        DEFENDANT AGHANIM’S
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   1         Andry was never required to execute a confidentiality agreement in the seven
                                                                                  8
   2   years that he worked at Xsolla—though he allegedly signed a handbook six years
   3   after he started working at Xsolla, that handbook says “[e]mployees will be
   4   required to sign a confidentiality agreement reiterating these obligations,” but there
   5   is no allegation that he did so. Id. ¶ 32. Andry also allegedly “had access to and
   6   knowledge of the most sensitive of Xsolla’s information, including its research and
   7   development into the next generation of payment and billing services and
   8   platforms.” Id. ¶¶ 34, 40. The FAC alleged Tugushev signed an ICA in March
   9   2023, yet this is after he allegedly started taking information in “late-2022.” Id.
  10   ¶¶ 38, 41. The FAC also does not allege Tugushev signed a Mutual Confidentiality
  11   Agreement as the ICA indicated. Tugushev also allegedly “had access to and
  12   knowledge of the most sensitive of Xsolla’s new product development
  13   information.” Id. ¶ 37.
  14         These allegations show Xsolla has not taken “consistent measures to protect
  15   the purportedly valuable trade secrets.” Dotzenroth, 2022 WL 6837701, at *5
  16   (pointing out that documents were emailed to defendant “with no NDA in place”).
  17   That Xsolla is unable to demonstrate it has taken consistent measures vis-à-vis
  18   these three individuals, who allegedly had “access to the most sensitive and
  19   mission-critical Xsolla information,” FAC ¶ 40, defeats Xsolla’s claim of secrecy
  20   and its efforts to protect it. See Dotzenroth, 2022 WL 6837701, at *6 (“Plaintiffs
  21   did not consistently protect the secrecy of the alleged trade secrets as some copies
  22   of the documents included ‘proprietary’ stamps, while others had no indicia of
  23   secrecy.”).
  24          Further, the purportedly “trade secret” products are customer-facing. See,
  25   e.g., FAC ¶ 22(a). To maintain trade secret status, information disclosed to third
  26
       8 An employee handbook, without some manifestation of meeting of minds, does
  27
       not form an implied contract. See Zoom Imaging Sols. v. Roe, 2022 WL 4025293, at
  28   *5-6 (E.D. Cal. Sept. 2, 2022).
                                                                        DEFENDANT AGHANIM’S
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   1   parties must be “provided on an understanding of confidentiality.” VBS Distrib. v.
   2   Nutrivita Laboratories, 811 F. App’x 1005, 1009 (9th Cir. 2020), cert. denied, 141
   3   S. Ct. 454 (2020). On the FAC’s face, that did not happen here: Xsolla does not
   4   allege that it requires its customers and developers to execute any NDAs. KEMA v.
   5   Koperwhats, 2010 WL 3464708 at *4 (N.D. Cal. Sept. 1, 2010) (finding lack of
   6   reasonable measures in the absence of an NDA); Mason v. Amtrust Fin. Servs., 848
   7   F. App’x 447, 450 (2d Cir. 2021) (same); Farmers Edge v. Farmobile, 970 F.3d
   8   1027, 1033 (8th Cir. 2020) (same). Unfettered, public access to information negates
   9   reasonable measures. See Woodall, 2021 WL 2982305, at *11.
  10         Against this background—where Xsolla gave allegedly unlimited access to
  11   its “highly sensitive and trade secret information” to employees and customers with
  12   no confidentiality agreements in place—Xsolla’s newly added allegation of
  13   “password protections” and “different levels of access,” FAC ¶¶ 74, 81, cannot save
  14   the day. Even after taking an opportunity to amend, Xsolla does not allege
  15   reasonable measures one would expect from a company of Xsolla’s size and
                                                                                9
  16   geographical footprint and that the law requires for trade secret status. A lack of
  17   basic protective measures proves fatal to Xsolla’s trade secret claims. Its failure to
  18   seek preliminary injunctive relief—despite allegedly being on notice of the alleged
  19   misappropriation for months and its claims of “ongoing” harm, id. ¶¶ 9, 47, 55—
  20
       9 Nelson Bros. Pro. Real Estate v. Jaussi, 2017 WL 8220703, at *5 (C.D. Cal. Mar.
  21
       23, 2017) (collecting cases) (advising employees of existence of trade secret,
  22   limiting access to “need-to-know basis,” confidentiality agreements, physical
  23   security); Religious Tech. Ctr. v. Netcom On-Line Commc’n Servs., 923 F. Supp.
       1231, 1254 (N.D. Cal. 1995) (access control systems for confidential documents);
  24   In re Ingle Co., 116 F.3d 1485, at *4 (9th Cir. 1997) (segregated computer
  25   networks); In re Providian Credit Card Cases, 96 Cal. App. 4th 292, 304 (2002)
       (marking documents confidential); MD Helicopters v. Aerometals, 2021 WL
  26   978953, at *2 (E.D. Cal. Mar. 16, 2021) (secure server); Farmers Ins. Exch. v.
  27   Steele Ins. Agency, 2013 WL 3872950, at *15 (E.D. Cal. 2013 July 25, 2013)
       (confidentiality reminders); InteliClear v. ETC Glob. Holdings, 978 F.3d 653, 660-
  28   61 (9th Cir. 2020) (encryption).
                                                                        DEFENDANT AGHANIM’S
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   1   suggests a lack of urgency on Xsolla’s part to protect its purported trade secrets,
   2   further undermining any claim that its measures are reasonable.
   3                2.    Xsolla Fails to Plead Misappropriation.
   4         Even assuming Xsolla identified, protected, and owned a trade secret, it has
   5   not alleged Aghanim misappropriated (i.e., acquired, disclosed, or used) any such
   6   trade secrets. Cal. Civ. Code § 3426.1(b)); 18 U.S.C. § 1839(5). First, that Xsolla
   7   provides detailed information on its alleged trade secrets on its website, see supra
   8   Part IV.1.a, undercuts its claims of misappropriation by Aghanim or anyone else.
   9   The extensive publicly available information about Xsolla’s products and services
  10   shows Xsolla’s technology is very much “ascertainable through proper means.” Cf.
  11   FAC ¶ 73. For example, Xsolla alleges “the improper use of [its] technology,”
  12   based on the similarities between Aghanim’s Game Hub Builder and Xsolla’s Site
  13   Builder. FAC ¶¶ 58, 59. Xsolla’s website and marketing materials, however, tout
  14   features and benefits for the Site Builder tool. RJN, Ex. G. Because Xsolla failed to
  15   “specify what information was made publicly available . . . on [its] website,” as
  16   opposed to the information it kept secret, “neither the Court nor Defendants can
  17   determine what trade secrets are alleged to have been misappropriated by
  18   Defendants based on the allegations in the FAC.” Woodall, 2021 WL 2982305, at
  19   *11 (dismissing DTSA and CUTSA claims).
  20         Second, Xsolla makes no allegations of improper acquisition by Aghanim
  21   itself, nor could it. Xsolla does not allege Aghanim’s existence until July 2023, and
  22   that is after any potential alleged “acquisition.” Indeed, by naming as defendants 50
  23   Does, whose identities are “unknown to [it],” FAC ¶ 13, Xsolla failed to allege who
  24   acquired what, when, or how. See Hoffman v. Goli Nutrition, 2024 WL 230873, at
  25   *14 (C.D. Cal. Jan. 17, 2024) (dismissing DTSA claims where, among other things,
  26   “nowhere do [p]laintiffs allege who, what, when, or where [defendant] supposedly
  27   obtained, reviewed, or stole those same ideas”). Xsolla’s addition of Tugushev—
  28   who allegedly worked for Xsolla for less than four months—does not cure this
                                                                        DEFENDANT AGHANIM’S
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   1   pleading deficiency. Having joined Xsolla only in March 1, 2023, Tugushev could
   2   not have “downloaded, copied, and/or forwarded” Xsolla’s materials “in late-
   3   2022,” as Xsolla repeatedly alleges. FAC ¶¶ 41, 71. While Xsolla repeatedly groups
   4   together allegations against Golubitsky, Andry, and Tugushev, see, e.g., id. ¶¶ 40-
   5   43, Golubitsky and Andry are not defendants in this action, nor can they be Does
   6   because the Does’ identity is “currently unknown to Xsolla,” id. ¶ 13. The FAC
   7   thus lacks any particularized allegations about Tugushev or any Does that could
   8   support misappropriation.
   9         Third, Xsolla’s conclusory statements about Aghanim’s alleged improper
  10   use, such as “Aghanim . . . continues to use Xsolla confidential and trade secret
  11   information,” id. ¶¶ 8, 83-84, “are not supported by adequate factual allegations.”
  12   Space, 2017 WL 5013363, at *2. They are based “on information and belief,” i.e.,
  13   Xsolla only speculates that any of these things happened. FAC ¶¶ 2, 38, 42, 46 49,
  14   50, 53, 58. This shows Xsolla “likely lacks knowledge of underlying facts to
  15   support the assertion[s], and is instead engaging in speculation to an undue degree.”
  16   See Delphix Corp. v. Actifo, 2014 WL 4628490, at *2 (N.D. Cal. Mar. 19, 2014).
  17   The Court should refuse to engage in same. See Spice Jazz v. Youngevity Int’l, 2020
  18   WL 6484640, at *5-6 (S.D. Cal. Nov. 4, 2020) (rejecting allegations “on
  19   information and belief” and dismissing claim); Flexpand v. Cream, 2020 WL
  20   13504975, at *7 (N.D. Cal. Sept. 9, 2020) (same).
  21         Fourth, the only allegations of which Xsolla appears certain are that
  22   information must have been stolen due to the “unheard of and unrealistic speed”
  23   with which Golubitsky, Andry, and Tugushev established Aghanim. See FAC ¶¶ 6,
  24   55, 56. But similarity and speed alone are not sufficient to allege misappropriation.
  25   Cf. E. & J. Gallo Winery v. Instituut Voor Landbouw—En Visserijonderzoek, 2018
  26   WL 2463869, at *7 (E.D. Cal. June 1, 2018) (requiring allegations of “exactly how
  27   defendants improperly obtained the alleged trade secret” beyond alleged similarly)
  28   (emphasis added); Rescue 1 Fin., LLC v. Complete Debt Relief, LLC, 2023 WL
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   1   6373884, at *5 (collecting cases where speed of new employment and similarity
   2   between businesses was not enough to plead misappropriation). The allegations
   3   regarding new employment are insufficient—the inevitable disclosure doctrine is
   4   not recognized in California because it is inconsistent with the State’s strong public
   5   policy favoring employee mobility. See, e.g., Lam Res. Corp. v. Deshmukh, 157 F.
   6   App’x 26, 28 (9th Cir. 2005). Thus, the departures of Golubitsky, Andry,
   7   Tugushev, and their launch of Aghanim is insufficient to claim misappropriation.
   8   See Globespan, 151 F. Supp. 2d at 1235-36. Xsolla has got nothing else.
   9                3.     Xsolla Fails to Plead Damages
  10         Finally, for the third essential element of trade secrets misappropriation,
  11   Agency Solutions.Com v. TriZetto Grp., 819 F. Supp. 2d 1001, 1015 (E.D. Cal.
  12   2011), the FAC only has naked assertions of actual damages. See, e.g., FAC ¶ 9
  13   (“Aghanim’s wrongdoing is ongoing and has cost Xsolla millions.”). Despite its
  14   repeated allegations that Aghanim attempted to “improperly solicit Xsolla
  15   customers,” id. ¶¶ 8, 50, 53, 54, 57, 61, 62, and even after amending after the
  16   parties met and conferred about this, Xsolla does not say it lost any customers or
  17   contracts, its profits declined, any of its customers demanded discounts for Xsolla
  18   to be competitive with Aghanim, or the market lost interest in any of the products
  19   or services Xsolla offers. To fill this void, Xsolla alleges it had to “reconsider its
  20   long-term strategy,” “assur[e] customers of Xsolla’s security,” and “expend
  21   resources to implement additional security measures.” Id. ¶ 9. The Court should be
  22   skeptical of Xsolla’s attempt to transform prudent business practices in an evolving
  23   market of competition into damages.
  24         Xsolla’s attempt to rely on the theory of unjust enrichment to show damages
  25   likewise fails, as it is entirely circular: “Aghanim unjustly enriched themselves
  26   while simultaneously causing substantial harm to Xsolla.” Id. ¶¶ 86, 90; contra
  27   ChromaDex, Inc. v. Elysium Health, 2018 WL 4816131, *4 (C.D. Cal. July 26,
  28   2018) (unjust enrichment must be alleged with specificity).
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   1         The DTSA and CUTSA claims should be dismissed for failing to adequately
   2   plead damages.
   3         B.     Xsolla’s CUTSA Claim Preempts Its Common-Law Claims.
   4         Despite the parties’ meet-and-confer efforts, the FAC did not even attempt to
   5   cure the obvious defect in Xsolla’s four state-law claims—they are preempted by
                                                                                       10
   6   CUTSA, the “exclusive remedy” here and should be dismissed with prejudice.
   7   Heieck v. Fed. Signal Corp., 2019 WL 6873869, at *2 (C.D. Cal. Nov. 4, 2019); see
   8   also Cal. Civ. Code § 3426.7. When deciding whether CUTSA preempts a state-law
   9   claim, the inquiry is whether it is “based on the same nucleus of facts.” Heieck,
  10   2019 WL 6873869, at *2. Dismissal is required when state-law counts are “a
  11   restatement of the same operative facts supporting trade secret misappropriation.”
  12   Gabriel Techs. Corp. v. Qualcomm, 2009 WL 3326631, at *11 (S.D. Cal. Sept. 3,
  13   2009).
  14         There is no material distinction between the assertions underpinning Xsolla’s
  15   CUTSA count and its common-law claims. In counts 3 and 4 (intentional and
  16   negligent interference with prospective economic advantage), Xsolla alleges
  17   Aghanim sought to disrupt its customer relationships “by using improperly obtained
  18   and confidential information about the contact information for Xsolla customers.”
  19   FAC ¶ 98. This merely restates Xsolla’s trade secret misappropriation claims,
  20   triggering preemption. See MedImpact Healthcare Sys. v. IQVIA, 2020 WL
  21   5064253, at *19 (S.D. Cal. 2020 Aug. 27, 2020) (finding preemption where “the
  22   only way Defendants were able to interfere with Plaintiffs’ customer relationships
  23   was through the misappropriation of trade secrets”).
  24
  25
  26   10 This should be the outcome, regardless of how this Court rules on Aghanim’s

       motion to dismiss the CUTSA claim. See Sylabs v. Rose, 2023 WL 8813517, at *9
  27   (N.D. Cal. Dec. 19, 2023) (finding CUTSA preemption even though plaintiff failed
  28   to plead the existence of a trade secret).
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   1         Count 5 (intentional interference with contractual relationships) fails for the
   2   same reason. Xsolla claims in a blanketed fashion Aghanim “knew of [Xsolla’s]
   3   contracts” with customers and “intended to disrupt [their] performance.” FAC
   4   ¶ 112. These allegations rely on Aghanim’s alleged trade secret misappropriation of
   5   customer information, as that is the only alleged wrongdoing Xsolla attempts (but
   6   fails) to detail. As such, the intentional interference claim “relies on the same
   7   allegations . . . and is thus preempted by CUTSA.” See, e.g., Western Air Charter v.
   8   Schembari, 2017 WL 10638759, at *3 (C.D. Cal. Oct. 6, 2017).
   9         Count 6 (unfair competition under California’s Unfair Competition Law
  10   (UCL)) likewise is preempted. This claim is predicated upon Aghanim’s alleged
                                                                                11
  11   use of Xsolla’s trade secrets to solicit customers and start its business. For
  12   example, Xsolla’s allegation under the unfair and unlawful prongs of UCL directly
  13   depends upon Aghanim’s alleged use of “confidential customer information” to
  14   solicit Xsolla’s customers. FAC ¶ 117. Xsolla also alleges Aghanim misrepresented
  15   its “independent capabilities to develop video game payment and support
  16   platforms,” i.e., Aghanim misappropriated Xsolla’s information to develop those
  17   capabilities. Id. Similarly, claims that Aghanim “unjustly enriched themselves,”
  18   again, implicates trade secret misappropriation through the alleged improper use
  19   and disclosure of Xsolla’s “systems . . . setting up a competing [] platform business,
  20   and soliciting and poaching Xsolla’s customers.” Id. ¶¶ 86, 91. As for Xsolla’s
  21   allegations under the UCL’s fraudulent prong, it alleges either that Aghanim
  22   improperly used Xsolla information, or it alleges contradictorily that, if Aghanim
  23   “is not capable of its advertised features,” then it “falsely and misleadingly
  24   advertised its capabilities.” Id. ¶¶ 117, 118. Either way, Xsolla’s allegations of
  25   unfair competition are based on its trade secret misappropriation allegations. See
  26   IQVIA, 2020 WL 5064253, at *20 (holding that all of the alleged “‘unlawful acts’
  27
       11 To the extent Xsolla’s UCL claim also includes allegations dependent upon a
  28   theory of trademark infringement, it must fail for other reasons explained below.
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   1   are also necessarily preempted by CUTSA”).
   2         Nothing remains of Xsolla’s state-law claims once the trade secret allegations
   3   are stripped away. Waymo LLC v. Uber Tech., 256 F. Supp. 3d 1059, 1062 (N.D.
   4   Cal 2017) (“At the pleadings stage, the supersession analysis asks whether, stripped
   5   of facts supporting trade secret misappropriation, the remaining factual allegations
   6   can be reassembled to independently support other causes of action.”) (internal
   7   citation omitted). They should be dismissed.
   8         C.     Xsolla’s State-Law Claims Fail to Plead a Claim.
   9         Xsolla’s state-law claims also fail to allege a claim upon which relief can be
  10   granted. The fundamental flaw with Xsolla’s fallback common-law claims (counts
  11   3 through 6) is that Xsolla has not offered sufficient facts showing damages.
  12   Additionally, Xsolla’s UCL claim lacks any plausible facts demonstrating
  13   Aghanim’s business practices are unlawful, unfair, or fraudulent.
  14                1.     Xsolla Failed to Adequately Plead Injury or Damages.
  15         Interference with a prospective economic advantage (counts 3 and 4) requires
  16   plausible facts showing “actual disruption” of a client relationship and “economic
  17   harm . . . proximately caused by the acts of the defendant.” Korea Supply Co. v.
  18   Lockheed Martin Corp., 29 Cal. 4th 1134, 1153-54 (2003). Xsolla, however, relies
  19   on uncertainties and speculation courts disfavor. See Silicon Knights v. Crystal
  20   Dynamics, 983 F. Supp. 1303, 1311-12 (N.D. Cal. 1997) (dismissing claims based
  21   upon “speculative expectancies”). It claims Aghanim “disrupt[ed] . . . relationships
  22   by attempting to steal Xsolla’s existing customers,” FAC ¶¶ 99, 107, but asserts no
  23   facts to support that claim. Nor does Xsolla offer any detail as to how Aghanim’s
  24   conduct was a but-for cause for any actual disruption of customer relationships.
  25   Such conclusory statements are inadequate. See, e.g., Silicon, 983 F. Supp. at 1312.
  26   A reference to “potential” customers, FAC ¶ 108, does not save these claims.
  27   Courts routinely dismiss interference claims in the absence of a preexisting
  28   business relationship. See, e.g., Silicon, 983 F. Supp. at 1312.
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   1         Similarly, to plead intentional interference with contract (count 5), Xsolla
   2   had to allege, among other elements, “a valid contract” between Xsolla and a third
   3   party and that Aghanim committed an intentional act “designed to induce a breach”
   4   or disrupt that relationship; “actual breach or disruption of the contractual
   5   relationship”; and “resulting damage.” Id. at 1309. Xsolla asserts without support
   6   that “Aghanim’s conduct made performance of . . . contracts more expensive or
   7   difficult.” FAC ¶ 112. But Xsolla does not name an intentional act. 12 This alone is
   8   reason to dismiss. Even if Xsolla could point to an intentional act by Aghanim, it
   9   has not provided any facts showing actual disruption to Xsolla’s customer
  10   relationships, a decrease in sales, or any complication to performance of a
  11   contractual duty as a result of Aghanim. Contra Silicon, 983 F. Supp at 1312 (“[N]o
  12   allegation that sales of a particular software product . . . decreased.”); cf., Zoom
  13   Imaging Sols. v. Roe, 2020 WL 489238 at *3 (E.D. Cal. Jan. 30, 2020) (alleging “at
  14   least 74” customers were lost).
  15         Finally, to establish standing under UCL (count 6), Xsolla had to show it
  16   “suffered injury in fact” and “lost money or property as a result of the unfair
  17   competition.” Cal. Bus. & Prof. Code § 17204. To do so, Xsolla had to establish
  18   (1) it suffered an “injury in fact” like “lost money or property,” and (2) this was
  19   caused by the unfair business practice or false advertising at issue. Pirozzi v. Apple,
  20   966 F. Supp. 2d 909, 919 (N.D. Cal. 2013). However, as in its interference claims,
  21   Xsolla provides no facts supporting economic injury and instead defaults to the
  22   conclusory contention its harm “is ongoing” to the tune of “millions of dollars.”
  23   FAC ¶ 9. The Rule 8 pleading standard requires more than “an unadorned, the-
  24   defendant-unlawfully-harmed-me accusation.” Iqbal, 556 U.S. at 678.
  25
  26
       12 The “acts of setting up a competing business are not in and of themselves
  27
       intentional acts designed to induce a breach or disrupt contractual relationships.”
  28   Schembari, 2017 WL 10638759, at *3.
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   1                  2.   Xsolla Fails to Plausibly Plead Its UCL Claim.
   2         Xsolla’s UCL claim should also be dismissed because it lacks plausible facts
   3   demonstrating Aghanim’s business practices are unlawful, unfair, or fraudulent,
   4   Bus. & Prof. Code § 17200. First, the UCL’s “unlawful” prong “borrows violations
   5   of other laws . . . and makes those unlawful practices actionable under the UCL.”
   6   Berryman v. Merit Prop. Mgmt., 152 Cal. App. 4th 1544, 1554 (2007) (citation
   7   omitted). As detailed in supra Part IV.A and infra Part IV.D, Xsolla failed to allege
   8   a DTSA, CUTSA, or Lanham Act violation. Thus, there is no violation-of-law
   9   “predicate for stating a cause of action” under UCL. See Berryman, 152 Cal. App.
  10   4th at 1554.
  11         Second, in the context of a UCL claim between competitors, a business
  12   practice is “unfair” only if it threatens violation of antitrust laws or otherwise
  13   “threatens or harms competition.” Cel-Tech Commc’ns v. L.A. Cellular Tel. Co., 20
  14   Cal. 4th 163, 187 (1999). 13 Xsolla alleges nothing of the sort. It simply states
  15   Aghanim “unfairly and unlawfully compete[s] in the . . . market.” FAC ¶ 61. A
  16   mere recitation of the element is not enough to state a claim.
  17         Third, the UCL’s fraudulent prong requires Xsolla to show “members of the
  18   public are likely to be deceived” by Aghanim’s business practices. Berryman, 152
  19   Cal. App. 4th at 1556. This requires Fed. R. Civ. P. 9(b) specificity; a complaint
  20   that “alleges no facts showing that any misrepresentation was made to [plaintiff] by
  21   any particular defendant, or that [plaintiff] relied to [its] detriment on any such
  22   misrepresentation” fails to meet that standard. Harris-Scott v. Immelt, 2013 WL
  23   369013, at *4 (N.D. Cal. Jan. 29, 2013). Xsolla’s allegations that Aghanim “falsely
  24   and misleadingly advertised its capabilities,” FAC ¶ 118, and confused customers
  25   by displaying Xsolla’s name on its website, id. ¶ 126, hardly rises to the heightened
  26
       13 In cases between competitors, courts apply a different standard for unfairness
  27
       than in cases involving consumers. Drum v. San Fernando Valley Bar Ass’n, 182
  28   Cal. App. 4th 247, 253 (2010).
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   1   pleading standard under Rule 9(b).
   2         D.     Xsolla Fails to State a Claim for Trademark Infringement.
   3         Xsolla failed to state a federal trademark infringement claim because it only
   4   alleges nominative fair use of the company name. A Lanham Act 14 claim requires
   5   allegations that defendant used the mark as a trademark, and such use “is likely to
   6   cause consumer confusion.” Rearden v. Rearden Commerce, 683 F.3d 1190, 1202
   7   (9th Cir. 2012); see also Murray v. Cable Nat’l Broad., 86 F.3d 858, 861 (9th Cir.
   8   1996), as amended (Aug. 6, 1996). Here, Aghanim’s alleged use of Xsolla’s mark
   9   is permissible and does not cause confusion.
  10         The only factual allegations regarding Aghanim’s use of the term “Xsolla”
  11   are to the company’s name. See, e.g., FAC ¶¶ 62, 125; see also id. at Ex. A
  12   (“Golubitsky, Co-Founder, Co-CEO, 1,7 Years CEO @ Xsolla, 9,1 Years CTO @
  13   Xsolla.”); id. at Ex. B (“Aghanim . . . founded by former CEO and CTO of Xsolla .
  14   . . .”). Likewise, Aghanim’s website allegedly “displays Xsolla’s name,” FAC
  15   ¶ 126, only in the context of Aghanim’s executives’ previous work experience.
  16         The Lanham Act “allows use of another’s mark where the use is ‘otherwise
  17   than as a trade or service mark,’” as alleged here. In re Dual-Deck Video Cassette
  18   Recorder Antitrust Litig., 11 F.3d 1460, 1467 (9th Cir. 1993) (citing 15 U.S.C.
  19   § 1115(b)(4)). This practice is called “nominative” fair use as it names Xsolla itself
  20   and is not intended to identify Aghanim’s products or services. Because such use is
  21   “not likely to confuse,” the traditional likelihood of confusion factors do not even
  22   apply. Stevo Design v. SBR Mktg., 919 F. Supp. 2d 1112, 1124 (D. Nev. 2013)
  23   (citing Cairns v. Franklin Mint Co., 292 F.3d 1139, 1150 (9th Cir.2002)).
  24         Thus, if a complaint only alleges nominative fair use, “plaintiff has failed to
  25   allege likelihood of confusion,” and as a result, “failed to state a claim for which
  26   relief may be granted.” Id. (citing KP Permanent Make–Up Inc. v. Lasting
  27
  28   14 15 U.S.C. § 1114.

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   1   Impression I, 543 U.S. 111, 125 (2004)). District courts in the Ninth Circuit
   2   routinely dismiss such complaints. See Gibson Brands v. John Hornby Skewes &
   3   Co., 2015 WL 4651250, at *4 (C.D. Cal. Aug. 4, 2015) (collecting cases dismissing
   4   claims of nominative fair use); see also Architectural Mailboxes v. Epoch Design,
   5   2011 WL 1630809, at *4 (S.D. Cal. Apr. 28, 2011); Dual–Deck, 11 F.3d at 1466–
   6   67.
   7         Here, Aghanim’s alleged use of the Xsolla’s mark does not identify the
   8   source of Aghanim’s products or services; it is used only to describe the founders’
   9   prior employer, displaying Xsolla’s name in its founders’ website biographies, not
  10   to brand its products or services under the “Xsolla” mark. See Hensley Mfg. v.
  11   ProPride, 579 F.3d 603, 610 (6th Cir. 2009) (rejecting likelihood of confusion
  12   argument where a trailer hitch’s trademark, HENSLEY, bore its designer’s name,
  13   and was used by defendant not as a source identifier for new product but to identify
  14   its designer).
  15         That Xsolla alleges Aghanim’s website “is ‘meta tagged’ with Xsolla”
  16   because it mentions the founders’ prior work experience three times, FAC ¶ 62,
  17   cannot save its claim. Courts in this district have been clear: nominative fair use as
  18   a metatag is not trademark infringement. See Moore v. Doe, 2020 WL 6804508, at
  19   *3 (C.D. Cal. Oct. 13, 2020) (applying nominative fair use to metatags).
  20   V.    CONCLUSION
  21         For the reasons set forth above, the Court should dismiss the FAC in its
  22   entirety with prejudice and without leave to amend.
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   1                         CERTIFICATE OF COMPLIANCE
   2          The undersigned, counsel of record for Defendant Aghanim, Inc., certifies
   3   that this brief contains 6,973 words, which complies with the word limit of L.R. 11-
   4   6.1.
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